           Case 1:17-cv-02458-TSC               Document 78-1           Filed 06/14/19         Page 1 of 3




                            DEFENDANT EEOC’S REPORT OF STEPS TO
                           IMPLEMENT THE EEO-1 COMPONENT 2 DATA
                             COLLECTION: SUBMITTED JUNE 14, 2019

    Activities Since Submission of May 24, 2019 Status Report to Court


              The EEOC received the final Project Management Plan from NORC on May 27, 2019,

     and the final project Quality Control Plan from NORC on June 7, 2019. The Component 2

     EEO-1 Online Filing System website, https://eeoccomp2.norc.org/, was acquired and went live

     with a static page on June 4, 2019. NORC has completed hiring for critical positions on the project

     and has staff in place to open the EEO-1 Component 2 data collection on July 15, 2019.

           The EEOC provided on its website homepage a further update to filers on the collection of

     2017 and 2018 Component 2 data to include contact information for the NORC helpdesk on

     June 3, 2019. The EEOC received the draft training plan for contractor staff and filers for review

     on June 5, 2019. Initial helpdesk training will begin June 14, 2019.

           NORC is continuing to draft data collection specifications and finalize the design of the

     web-based, Computer-assisted Web Interview (CAWI) data collection instrument which will be

     available for all filers on July 15, 2019. For the convenience of employers who prefer to utilize

     data file upload capability 1, and in addition to the CAWI data collection instrument, NORC is

     working on a data file upload function and validation process which is expected to be available as

     an additional data collection method no later than August 15, 2019.

              On June 7, 2019 NORC submitted and EEOC approved an initial timeline for direct

     employer contact.




1
    In recent years, approximately 4% of filers have submitted EEO-1 Component 1 via data file upload.
                                                            1
Case 1:17-cv-02458-TSC   Document 78-1   Filed 06/14/19   Page 2 of 3
       Case 1:17-cv-02458-TSC Document 78-1 Filed 06/14/19 Page 3 of 3
 of July 1, 2019, first with mailing to all employers followed by email notification. On July 12,

 2019 employers will begin to receive log-in information, first with mailing to all employers

 followed by email notification.




Status: The EEOC is currently on track to open the Component 2 data collections for calendar

years 2017 and 2018 from July 15, 2019 through September 30, 2019. As noted in Defendants’ notices

of May 14 and May 24, 2019 (ECF Nos. 76 and 77), the EEOC is now determining the response

rates for EEO-1 data submitted over the last four years to be used to assess whether the EEOC is

“on track” to “complete” the Component 2 data collection by September 30, 2019, as defined by the

Court’s April 25 Order (ECF No. 71). At this point (and at least until employers begin submitting

Component 2 data), EEOC cannot begin to project what percentage of employers will submit

Component 2 data by September 30, 2019.




                                                  3
